Case 1:20-cv-01227-JMS-MPB Document1 Filed 04/22/20 Page 1 of 19 PagelD #: 1

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF INDIANA

INDIANAPOLIS DIVISION
TRACY JEAN DAVIS, : Case No.: 1:20-cv-1227
Plaintiff, : Judge:
: Magistrate:
V.
NOTICE OF REMOVAL

CHRISTOPHER WILLIAMS, KOCH
COMPANIES, INC., and STAN KOCH &
SONS TRUCKING, INC.

Defendants.

Under 28 U.S.C. §§ 1446 and 1441 and with full reservation of any and all defenses,
objections, and exceptions, including without limitation: to service, personal jurisdiction, venue,
and statute of limitations, Defendants Christopher Williams, Koch Companies, Inc., and Stan
Koch & Sons Trucking, Inc. provide this Notice of Removal of this civil action to the United
States District Court for the Southern District of Indiana, for the following reasons:

REMOVAL IS TIMELY UNDER 28 U.S.C. § 1446

1. On or about March 19, 2020, Plaintiff Tracy Jean Davis filed an action in the
Tippecanoe County Circuit Court I, State of Indiana, captioned Tracy Jean Davis v. Christopher
Williams, et al., Cause No. 79D01-2003-CT-000051 (“the State Court Action’). Under 28
U.S.C. § 1446(a), Plaintiff's Complaint is attached as part of Ex. A to this Notice of Removal.

2. Defendants were served with a copy of the Complaint on or about March 26,
2020. <A true and accurate copy of the State Court Action docket is attached as Ex. B.
Defendants timely filed answers within the State Court Action.

3. On April 21, 2020, counsel for Plaintiff Tracy Jean Davis confirmed that her

client is seeking in excess of $75,000 in damages for an alleged traumatic brain injury following

4823-8040-4666.1 1
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a motor vehicle accident with Defendants’ tractor-trailer. A true an accurate copy of that email
correspondence is attached as Ex. C. The Indiana Officer’s Standard Crash Report notes that
Plaintiff Tracy Jean Davis was transported from the accident scene with pain on her left side,
including neck, hop, knee/leg, and ribs. Further, the impact caused her vehicle’s steering wheel
to be hanging down and almost fell off. (See Indiana Officer’s Standard Crash Report, attached
as Ex. D).

4, This Notice of Removal is filed with this Court within 30 days of the case
becoming removable and within one year of the commencement of the state court action.
Therefore, this Notice is timely filed under 28 U.S.C. § 1446(b).

DIVERSITY OF CITIZENSHIP EXISTS UNDER 28 U.S.C. § 1332

5. Plaintiff Tracy Jean Davis is a citizen of Indiana who resides at 3616 Thorn Hill
Circle West, Lafayette, Indiana 47909. (See State Court Action Docket, attached as Ex. B).

6. Defendant Christopher Williams is a Texas citizen who resides at 403 North 1 45,
Ennis, Texas 75119. (Ex. B).

7. Defendant Koch Companies, Inc. is a Minnesota corporation with its principal
place of business located at 4370 West Round Lake Road, Arden Hills, Minnesota 55112. (Ex.
B).

8. Defendant Stan Koch and Sons Trucking, Inc. is a Minnesota corporation with its
principal place of business located at 4200 Dahlberg Drive, Golden Valley, Minnesota 55422,
(Ex. B).

9. No Defendant in this case is a citizen of the State of Indiana

10. Therefore, complete diversity exists between the parties.

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AMOUNT IN CONTROVERSY EXCEEDS $75,000

11. The Complaint alleges claims of negligence against Defendant Christopher
Williams and vicarious liability against Stan Koch & Sons Trucking, Inc. from a motor vehicle
accident on April 28, 2018, in Indianapolis, Marion County, Indiana. (Ex. A).

12, The Indiana Officer’s Standard Crash Report notes that Plaintiff Tracy Jean Davis
was transported from the accident scene with pain on her left side, including neck, hop, knee/leg,
and ribs. Further, the impact caused her vehicle’s steering wheel to be hanging down and almost
fell off. (See Indiana Officer’s Standard Crash Report, attached as Ex. D).

13. In addition to the injuries listed above, on April 21, 2020, counsel for Plaintiff
Tracy Jean Davis confirmed that her client is seeking in excess of $75,000 in damages for an
alleged traumatic brain injury following a motor vehicle accident with Defendants’ tractor-
trailer. A true an accurate copy of that email correspondence is attached as Ex. C.

14. If all of defendants’ defenses fail and if Plaintiffs prove all of their damages, the
damages could exceed $75,000, exclusive of interest and costs. Therefore, the amount in
controversy in the state court action, exclusive of interest and costs, exceeds $75,000.

DIVERSITY JURISDICTION IS SATISFIED

15. Based upon the above, this Court has original subject matter jurisdiction over this
action under 28 U.S.C. § 1332 because the Complaint presents a case where the amount in
controversy exceeds $75,000 and is between citizens of different states.

16. Defendants will promptly file this Notice with the Clerk of the Circuit Court for
Tippecanoe County as required by 28 U.S.C. § 1446(d).

17. Copies of all process and pleadings filed and received to date in the State Court

Action are attached as Exhibit E.

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CONSENT TO REMOVAL
18. All Defendants are represented by the undersigned counsel and consent to remove
this action; therefore, unanimity exists under 28 U.S.C. § 1446(b)(2)(A), (C) and this case is
properly removed to the United States District Court for the Southern District of Indiana.
WHEREFORE, Defendants Christopher Williams, Koch Companies, Inc., and Stan Koch
& Sons Trucking, Inc. respectfully request that the above numbered cause on the docket of the
Tippecanoe Circuit Court, State of Indiana, be removed from that Court to the docket of the
United States District Court for the Southern District of Indiana.

Respectfully submitted,

/s/ Brian J. Pokrywka

BRIAN J. POKRYWKA (31080-15)

LEWIS, BRISBOIS, BISGAARD & SMITH, LLP
250 East Fifth Street, Suite 2000

Cincinnati, OH 45202

Phone: (513) 808-9911

Fax: (513) 808-9912
brian.pokrywka@lewisbrisbois.com

Counsel for Defendants Christopher Williams,
Koch Companies, Inc., and Stan Koch & Sons
Trucking, Inc.

 

 

CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was sent via electronic mail
this 22"4 day of April, 2020 to:

Susannah M, Hall-Justice
200 Ferry Street, Suite A
P.O. Box 1218

Lafayette, IN 47902
Susannah@halljustice.com
Attorney for Plaintiff

/s/ Brian J. Pokrywka
BRIAN J. POKRYWKA

 

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EXHIBIT A
Case 1:20-cv-01227-JMS-MPB Document1 Filed 04/22/20 Page 6 of 19 PagelD #: 6

79D01-2003-CT-000051 Filed: 3/19/2020 8:45 AM
er
Tippecanoe Superior Court 1 Tippecanoe County, Indiana
STATE OF INDIANA ) TIPPECANOE COUNTY CIRCUIT COURT I
)
COUNTY OF TIPPECANOE ) SS: TO THE 2020 TERM
)
TRACY JEAN DAVIS, ) CAUSE NO. 79C01-2003-CT-
)
)
)
V. )
)
CHRISTOPHER WILLIAMS, KOCH )
COMPANIES, INC. and )
STAN KOCH & SONS TRUCKING, INC. )

COMPLAINT
Plaintiff, by counsel, for cause of action states:
General Allegations
1) On April 28, 2018, Defendant, Christopher Williams was driving a semi-tractor trailer in
Tippecanoe County Indiana. and according to witnesses disregarded the stop sign striking the
plaintiff's vehicle at U.S. 231 and County Road 500 S.
2) At the time Christopher Williams was employed by Stan Koch &Sons Trucking, Inc. to
drive semi-tractor trailers.
3) Koch Companies, Inc. owns Stan Koch & Sons Trucking, Inc.
Negligence

1) Christopher Williams disregarded a stop sign.
2) Christopher Williams failed to keep a proper look-out.
3) Christopher Williams struck Tracy J. Davis’ vehicle.
4) The force of the semi tractor trailer striking the Plaintiff's vehicle required the Plaintiff to

be transported to the hospital emergency room for treatment for her injuries.
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5) As a direct and proximate result of this negligence, Plaintiff was injured, incurred

medical expenses, lost income from work and other damages yet to be ascertained.

WHEREFORE, Plaintiff demands damages from the Defendants in an amount sufficient
to compensate her for her losses, for her costs, and all other relief in the premises. Plaintiff

demands trial by jury on all issues.

Respectfully submitted,

/s/Susannah M. Hall-Justice
Susannah M. Hall-Justice
Attorney No. 20153-79
Attorney for Tracy Davis
Hall-Justice Law Firm

200 Ferry Street, Suite A

P.O. Box 1218

Lafayette, IN 47902

Ph.: (765) 742-2987

Fax: (765) 420-0948

CERTIFICATE OF SERVICE

I hereby certify that I requested copies of the foregoing be served upon Mr. Christopher
Williams, 403 N. I-45 Ennis, TX 75119, Mr. Dave Koch, Koch Companies, Inc., 4370 W Round
Lake Rd., Arden Hills, MN 55112, and Mr. Dave Koch, Stan Koch & Sons Trucking, Inc., 4200
Dahlberg Dr., Golden Valley, MN 55421 via certified mail on March 19, 2020.

/s/Susannah M. Hall-Justice
Susannah M. Hall-Justice

 
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EXHIBIT B
4/22/2020 Case 1:20-cv-01227-JMS-MPB Document Fiviiteebe4i/22/20 Page 9 of 19 PagelD #: 9

Tippecanoe Superior Court 1
79D01-2003-CT-000051

Tracy Jean Davis v. Christopher Williams, Koch Companies, Stan Koch & Sons

Trucking, Inc.

File date: 03/19/2020 Disposition Date:

Parties Involved

#600 Ban

oxpop”

www.doxpop.com
(866) 369-7671

Information current as of 4/22/20, 9:54 AM EDT

 

Attorneys:

Parties:

 

Hall-Justice, Susannah M [Attorney]
Address:

200 Ferry St., Suite A

PO Box 1218

Lafayette , IN 47902

Phones:
Unknown (Fax): 765-420-0948
Work (Phone): 765-742-2987

State Bar ID: 2015379

Davis, Tracy Jean [Plaintiff]
Address:

3616 Thorn Hill Circle West
Lafayette , IN 47909

 

Pokrywka, Brian Joseph [Attorney]
Address:

36 East Seventh Street

Suite 2100

Cincinnati , OH 45202

Phones:
Unknown (Fax): 513-241-8775
Work (Phone): 513-241-4722

State Bar ID: 3108015

Koch Companies [Defendant]
Address:

4370 W. Round Lake Rd.
Arden Hills , MN 55112

 

Stan Koch & Sons Trucking, Inc. [Defendant]
Address:

4200 Dahlberg Dr.

Golden Valley , MN 55421

 

 

Williams, Christopher [Defendant]
Address:

403 N. 1-45

Ennis , TX 75119

 

 

Hardcopy References

No documents available for this case

Calendar Entries

No calendar entries exist for this case

Minute Entries

https://www.doxpop.com/prod/in/court/ViewCaseDetails?caseld=1819038379173&frame=1 &printable=1

1/3
4/22/2020 Case 1:20-cv-01227-JMS-MPB Document 1 CRllese49/2/20 Page 10 of 19 PagelD #: 10
(Most recent at top)
Minute Date: 4/15/2020
Input Date: Unavailable
Type: Subpoena/Summons Filed

 

Amended Summons
Filed By: Davis, Tracy Jean
File Stamp: 04/15/2020

Minute Date: 4/15/2020
Input Date: Unavailable
Type: Subpoena/Summons Filed

 

Amended Summons
Filed By: Davis, Tracy Jean
File Stamp: 04/15/2020

Minute Date: 4/14/2020
Input Date: Unavailable
Type: Service Returned Served (E-Filing)

 

Affidavit of service
Filed By: Davis, Tracy Jean
File Stamp: 04/10/2020

Minute Date: 4/14/2020
Input Date: Unavailable
Type: Service Returned Served (E-Filing)

 

Affidavit of service
Filed By: Davis, Tracy Jean
File Stamp: 04/10/2020

Minute Date: 4/14/2020
Input Date: Unavailable
Type: Answer to a Complaint Filed

 

Defendants’ Answer

Filed By: Koch Companies

Filed By: Stan Koch & Sons Trucking, Inc.
File Stamp: 04/10/2020

Minute Date: 4/14/2020
Input Date: Unavailable
Type: Appearance Filed

 

Appearance ;

For Party: Koch Companies

For Party: Stan Koch & Sons Trucking, Inc.
File Stamp: 04/10/2020

Minute Date: 3/19/2020
Input Date: Unavailable
Type: Case Opened as a New Filing

 

 

Minute Date: 3/19/2020
Input Date: Unavailable
Type: Appearance Filed

Appearance ;
For Party: Davis, Tracy Jean
File Stamp: 03/19/2020

Minute Date: 3/19/2020
Input Date: Unavailable
Type: Complaint/ Equivalent Pleading Filed

https:/Avww.doxpop.com/prod/in/court/ViewCaseDetails ?caseld=1819038379173&frame=1 &printable=1 2/3

 

 

 
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complaint
Filed By: Davis, Tracy Jean
File Stamp: 03/19/2020

Minute Date: 3/19/2020
Input Date: Unavailable
Type: Subpoena/Summons Filed

 

Summons
Filed By: Davis, Tracy Jean
File Stamp: 03/19/2020

Minute Date: 3/19/2020
Input Date: Unavailable
Type: Subpoena/Summons Filed

 

Summons .
Filed By: Davis, Tracy Jean
File Stamp: 03/19/2020

Minute Date: 3/19/2020
Input Date: Unavailable
Type: Subpoena/Summons Filed

 

Summons
Filed By: Davis, Tracy Jean
File Stamp: 03/19/2020

 

 

 

Financial Information

No financial information available for this case

https://www.doxpop.com/prod/in/court/ViewCaseDetails ?caseld=18190383791738&frame=1 &printable=1 3/3
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EXHIBIT C
Case 1:20-cv-01227-JMS-MPB Document1 Filed 04/22/20 Page 13 of 19 PagelD #: 13

Fonnesbeck, Kristen

 

ae ae
From: Pokrywka, Brian
Sent: Wednesday, April 22, 2020 12:50 PM
To: Fonnesbeck, Kristen
Subject: FW: Tracy Davis v. Christopher Williams and Koch Trucking

Brian J. Pokrywka

Partner PLEASE NOTE WE HAVE MOVED
Cincinnati

513.808.9916 or x5139916

 

From: Susannah@halljustice.com [mailto:susannah@halljustice.com]
Sent: Tuesday, April 21, 2020 4:57 PM

To: Pokrywka, Brian

Subject: [EXT] Tracy Davis v. Christopher Williams and Koch Trucking

 

Dear Brian,

From our conversation | understand that good service has been had on both Defendants and that you are
representing them both. Since the Plaintiff is still being treated for her brain injury it appears that the damages are in
excess of $75,000.00.

Sincerely,

Susannah M. Hall-Justice
Attorney

200 Ferry Street

Suite A

P.O, Box 1218
Lafayette, IN 47902
765-742-2987

www. Hall Justice.com

  

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La FIR

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EXHIBIT D
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Ess INDIANA OFFICER'S STANDARD CRASH REPORT page| 1 | of | 4
iv ae, AES) Electronic Version
ay 903141089 Local
es 2018001864
Date of Crash =| Day of Week | Actual Local Time County Township Motor | # injured | #Dead | #Commercial | # Door
Vehicles Vehicles
04/28/2018 Sat 4:36 PM TIPPECANOE WEA 2 4 0 0
Road Crash Occurred On Nearestilntersecting Road/MileMarkerlinterchange rot an intersection, | Direction Road Classification
ys234 CRSO0S number of feat from US ROUTE
Inside Gorporate Limits? CitylTown or Nearest City/Town Property? Crash Latitude Crash Longitude
NO LAFAYETTE 0 -0
Driver #4 Driver #2 Driver #3 Driver #4
WILLIAMS;CHRISTOPHER.R DAVIS, TRACY, J
a o
z | | | | 4 | | Area Information
> crow mw + CP er A wm +
s 2333 2222
EBB fs Ess 285 HitandRun = NO
Driver Contributing Circumstances Vehicle Contributing Circumstances
a a CI LL Alcoholic Beverages at et td Engina Failure-or Defective School Zone NO
ed ed Wegal Drugs bt et tt Accelerator Failure or Defacti
oe Prescription Drugs a Brake Failure or Defective Rumble Strips NO
Let leet lee! fet Lona Driver Asleep or Fatigued ot Tire Fatlure or Defective
et dd Driver Illness bd Haadlight(s) Defective or Not On | Locality
dy LL] Unsafe Speed tL dL] [| other Lights Defective URBAN
ed Failure to Yield ed Steering Failure Light Condition
7) 7 | Disregard Signal beat lemma! bemel fase! tea! MlindowfiNindshield Defective DAYLIGHT
ad LS LL Lt Ly Left of Center tt LL LJ OversizafOverwelght Load Weather Conditions
. eather
ed ad Improper Passing tt Insocurell eaky Load CLEAR
ed Improper Turning Tow Hitch Failure —
Lg Improper Lane Usage a Other Surface Condition
beet Ld te) feed 1d Following Too Closely 1} (4) LI LJ None DRY
Ly Lt Ly} Unsafe Backing Environment Contributing Circumstances Type of Median
LL Ld LL) Overcorresting a ty I] Glare NONE
Ld Ly Ran off Road at Lt I LL} Roadway Surface Type of Roadway Junction
bead eal bee! feud fof Wrong WayonOneWay | || | Lod at LJ HolesiRuts.in Surface FOUR-WAY INTERSECTION
Padestrlan’s Action Shoulder Defective
—— my py . . pe fee fey . Road Character
et td Passenger Distraction a Road Under Construction STRAIGHT/LEVEL
dd Restriction Violation dd Lo Severe Crosswinds
Jackknifing Obstruction Not Marked Roadway Surface
et df CI a Cell Phone Usage a a CI a TI Lane Marking Obscured ASPHALT
LL Ld LL Other Telematics ed View Obstructed Construction If Yes, Construction Type
LL LL] Driver Distracted Ly Ly LL] Animavobject in Roadway NO
et SpeedfW eather Conditions td Le Traffic Ctf Inop/MissinglObscure [Traffic Gontrol Devices
et od Unsafe Lane Movement pd tot Ld Le Lu Utility Work STOP SIGN
CIty LL) Other J Ld Lt Ld LL Other
J i} LJ LJ None 7] 7) LJ L None Traffic Control Device Operational? §= NA.
Total Estimate of all damage in the Crash: . . .
$2504 TO $5000 Was this crash the result of aggressive driving? NO
Other Property Damage (1) State Property [Owner's Name and Address
Other Property Damage (2) State Property {Owner's Name and Address
Witness/Other Participant Non-Motorist
|| Witness # Name (Last Name, First Name, Mi)
| Other Participant | 1_|MGGLELLAN KEVIN R
Address ete. Non-Motorist Type Non-Motorist Action
5205 AUTUMN LNLAFAYETTE iN 47909
Phona# Location at-Time of Crash Apparent Physical Condition
7654042684 BEHIND SEMI DRIVER
J} Witness # Name Cited? Direction
Other Participant | 2. (BAILEY LAURAE
Address etc. [StreetHighway
3124 COPPERGATE CIR LAFAYETTEIN 47909
Phone # Location at Time of Crash Traffic Control? If yes, was traffic control operational?
7664212473 IN FRONT OF V2

 

 

 

 

 

 

noid

   
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903141089 Pago 2 of 4
Local ID
201 8001864
Type of
Crash RIGHT ANGLE
Time Notified Time Aniived Other Location of Investigation
4:37 PM 4:41 PM SAINT ELIZABETH HOSPITAL, ER ROOM 3
Assisting Officer ID No. Agency Investigation Complete? Photos Taken?
BUTTS, TRAVIS LEE 7917 TIPPECANOE SD YES YES
Assisting Officer ID No. Agency Date of Report
04/28/2018

Investigating Officor ID-No, Agency Reviewing Officer
MINOTT, J 7923 TIPPECANOE SD RICKS J

 

 

 

 

 

Narrative

V1 WAS TRAVELING WEST ON 500 S WHEN IT DISREGARDED THE STOP SIGN AT OLD US HWY 231 S,
STRIKING V2. V1 RAN THROUGH THE STOP SIGN AND STRUCK V2 ON THE DRIVER'S SIDE PASSENGER
DOOR, SPINNING THE CAR 180 DEGREES. V1 CAME TO FINAL REST AFTER IMPACT AND SUSTAINED
MODERATE FRONT END DAMAGE. D1 STATED HE WAS DRIVING WEST AND LOOKED AWAY FOR A BRIEF
SECOND AND THEN REALIZED HE WAS ABOUT TQ RUN THROUGH THE STOP SIGN, D1 STATED HE
ATTEMPTED TO STOP, BUT WAS TOO CLOSE TO THE INTERSECTION AND SKIDDED INTO THE V2. D1
STATED HE WAS. LOADED WITH APPROXIMATELY 23, 000LBS IN HIS TRAILER AND JUST PICKED UP THE
LOAD FROM LAFAYETTE, IN. D1 STATED HE HAD JUST BEGUN DRIVING AND HAD SLEPT APPROXIMATELY
8-9 HOURS BEFORE STARTING HIS WORK DAY. D1 FURTHER SAID THAT HE HAD NOT BEEN DRINKING
AND WAS NOT FEELING TIRED. D2 STATED SHE WAS TRAVELING SOUTH ON US HWY 231 S AND WAS
STRUCK AS SOON AS SHE ENTERED THE INTERSECTION. D2 WAS CONFUSED AND SUSTAINED SEVERAL
INJURIES FROM THE SIDE IMPACT. D2 SAID SHE WAS ATTEMPTING TO TURN EAST ON 500 S BEFORE
SHE WAS HIT BY THE SEMI. D2 WAS TRANSPORTED TO THE HOSPITAL BY HER BOYFRIEND FOR
FURTHER TREATMENT. SHE STATED THAT HER ENTIRE LEFT SIDE OF HER BODY WAS IN PAIN TO
INCLUDE; NECK, HIP, KNEE/LEG AND RIBS. V2 SUSTAINED SIGNIFICANT DAMAGE. IT SHOULD BE NOTED
THAT THE STEERING WHEEL WAS HANGING DOWN AND HAD ALMOST FALLEN COMPLETELY OFF.
WITNESS 1, KEVIN MCCLELLAN, STATED HE WAS DRIVING BEHIND THE SEMI AND WITNESSED THE
TRUCK RUN THROUGH THE STOP SIGN, STRIKING V2. WITNESS 2, LAURA BAILEY, STATED SHE DROVE
THROUGH THE INTERSECTION RIGHT BEFORE V2 AND OBSERVED THE CRASH HAPPEN RIGHT BEHIND
HER. LAURA SAID SHE SAW THE SEMI DISREGARD THE STOP SIGN AND STRIKE V2.

 

 

 

 
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UNIT INFORMATION Pp 3 f 4
nap 903141089 age °
2018001864
Driver's Name (Last, First, MI) Safety Equipment Used
1 |WILLIAMS, CHRISTOPHER, R LAP + HARNESS
Address (Street, City, State, Zip) Safety Equipment Effective?
403 N 145 YES
Ejection Trapp ed
ENNIS TR 75119 NOT EJECTED OR TRAPPED
Date of Birth Age Gander EMS Na. Immed Attn Driver Injury Status
06/14/1969 48 MALE NO
Driver's License # Lic Type CDL.Class |Lic State {Nature of Most Severe Injury
35788705 CD ™
Apparent Physical Status Restrictions Location of Most Severe injury
Normal Cc} Glasses!Contact Lenses CT Employer's Vehicle Only
H Had Been Drinking Outside Rearview Mirror State-Owned Vehicles If Cited? IC Codes
Handicapped Daylight Driving PP Chauffeurs Taxi Only . 9-94-8-32
it Automatle Transmission Power Steering infraction
AsleepiFatigued Special Controls Special Rastrictions C) Misdemeanor
DrugsiMedication Employment Only Probation DWI CJ Felony
Unknown Motoreycle Only Probation HTO
CJ TolFrom Employment None
Test Given Type Given
Blood ["] Urine [~] Breath [| gest [] Pat
Alcohol Results Drug Results
Cartified .
PBT Test L) Pending
Veh# {Color Vehicle Year Make Model Style Initial Impact Area
4 {WHI 2019 VOLVO VNL 760 PD O Undercarriage C] Cc] D0
# Occupants Lic Year | License # License State Trailer = 5
1 2019 | 3BPo62 OK EI None £ U Uj
# Axles | Speed Limit! Insured By Phone Number Cy Unknown C) 0 CO
3 25 | SAFE FLEET INSURANCE 4044431005 mn
Vehicle identifi cation# Areas Damaged (Multiples)
4V4NC9EHSKN195202 Oo Undercarriage . EC] CJ
Registered Owner s Name (Last, First, Mi) [_J Same as Driver Trailer eS 5
STAN KOCH AND SONS TRK : None “ M4 U0 O =
Address (Street, City, State, Zip) oO O
4200 DAHLBERG DR () Unknown
GOLDEN VALLEY MN 55422 Vehicle Use
Towed? |To JIMS GARAGE Due fo Disabling Damage _1COMMERCIAL(TAXIS,;COMM ON, CONTRACT)
YES |By JIMS GARAGE YES Emergency Run? Fire?
Lic State] Lic Year | Registered Owner's Name (Last, First, Ml) CT] Same as Driver Nel NO
la OK | 2016. |STANKOCH AND SONS TRKINC.
License# Address (Street, Cily, State, Zip) Vehicle Type
2219LE 4200 DAHLBERG DR TRACTOR/ONE SEM! TRAILER
Veh Year| Make = 7
9016 |VOLVO GOLDEN VALLEY MN 55422 Pre-Crash Vehicle Action
Lic State] Lic Year |Registered Owner's Name (Last, First, fil) oO Same as Driver GOING STRAIGHT
Direction of Travel
License# Address (Street, City, State, Zip)
WEST
Veh Year| Make Tyne of PrimaryiSecondary Roadway
~Two Wi
Commercial Vehicle: Carriers Name and Address O One Way Road Two Lanes - Two Way
1 STAN KOCH AND SONS TRUCKING ING CO One Lane - One Way CJ Multi-Lane Divided (3 or more) - Two Way
4200 DAHLERG DR CT Two Lanes - One Way Oo Multi-Lane Undivided Two Way Left Turn
C] Multi-Lanes (3 or more} - One Way | Multi-Lane Undivided (3 or more) - Two Way
MINNEAPOLIS MN 55422 (_] Mutti-Lane wi Grass Median Only (_] Mulfi-Lane w Concrete Barrier
HAZMAT Propsr Shipping Namo: State DOT# Cc Muiti-Lane wi Center Tum Lane oO Multl-Lane w/ Metal. Guardrail Median
196202
i. i i Private.Dri All
WS DOF ec CHV inspection T¥es oO Muiti-Lane wi Curb-Raised Median oO rivate.Drive | ley
0000146080 NO [_] Mutii-Lane w/ Cable Barrier [_] Ramp
Gross Vehicle Weight Rating Cargo Body Type Event Collision With
26 ,001# OR MORE VAN/ENCLOSED BOX 1. ANOTHER MOTOR VEHICLE
HAZMAT Placard | HAZMAT Release of Cargo | HAZMAT 4-Digit IDF Hazzard Class #
NO NO

 

 

 

 

 

 

 

 

 

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UNIT INFORMATION p 4 f 4
Local ID 903141089 age 8
2018001864
Driver's Name (Last, First, MI) Safety Equipment Used
2 DAVIS, TRACY, J LAP.+ HARNESS
Address (Street, City, State, Zip) Safety Equipment Effective?
2299 HOPKINS DR YES
Ejection Trapp cd
WEST LAFAYETTE IN 47906 NOT EJECTED OR TRAPPED
Date of Birth Age Gander EMS No. Immed Attn Driver Injury Status
11/24/1988 29 FEMALE YES NON-INGAPACITATING - TREATED AT
Driver's License # Lic Type CDL Class. |Lic State [Nature of Most Sevare Injury.
0771407428 OP IN JCONTUSION/BRUISE
Apparent Physical Status Restrictions Location of Most Severe Injury
Normal | Glasses!Contact Lenses CJ Employer's Vehicle-Only |KNEE/LOWER LEG/FOOT
Had Been Drinking Outside Rearview Mirror State-Owned Vehicles IF Cited? IC Codes
Handicapped Daylight Driving PP Chauffeurs Taxi Only ;
ill Automatic Transmission Power Steoring O Infraction
AsleepiFatiqued Speciaf C ontrols ‘ Speclal Restrictions | Misdemeanor
Drugs/Medication Employment Only Probation DWI C] Felony
Unknown Motorcycle Only Probation HTO
L] TofFrom Employment None
Test Given Type Given
NONE Blood [] Urine [_] Breath [~] gest [_] pat
Alcohol Results Drug Results
Cartifled .
PBT Test [) Pending
Veh? [Color Vehicle Year Make Model Style” |“ initial Impact Area
2 {Sil 2008 FORD EDGE UT CI Undercarriage Cc CO Oo
# Occtipants Lic Year License # License State Trailer = a
1 2019 | 6a4TL IN HI None é)U U OU \é
# Axles | Speed Limit] Insured By Phone Number | Unknown DO a}
2 25 |USAA INSURANCE ooooocoeno me
Vehicle Identification# Areas Damaged (Multipies)
Z2FMDK49C68BB08435 O Undercarriage . CL] Cc .
Registered Owner's Name (Last, First, Ml) [_] Same as Driver ([] Traiter 5 C) C] | 3
DAVIS, TRACY, J [J None “ “
Address (Street, City, State, Zip) 4
2299 HOPKINS DR [7] Unknown
WEST LAFAYETTE IN 47908 _—‘[Wehicla Use
Towed? |To JIMS GARAGE Due to Disabling Damage _ |PERSONAL (FARM, COMPANY)
YES |By JIMS GARAGE YES Emergency Run? Fire?
Lic State] Lie Year |Registered Owner's Name (Last, First, MM) oO Same.as Driver NO Na
License? Address (Street, City, State, Zip) Vehicle Type
SPORT UTILITY VEHICLE
Veh Year Mako Pre-Crash Vehicle Action
Lic State! Lic Year Registered Owner's Name (Last, First, Ml} CT Same as Driver | | URNING LEFT
Direction of Travel
License# Address (Street, City, State, Zip)
SOUTH
Weh Year| Make Type of PrimaryiSec ondary Roadway
Two L: - Two Wi
Commercial Vehicle: Carriers Name and Address C One Way Road wonanes = wos
CJ One Lane - One Way C] Muiti-Lane Divided (3 or more) - Two Way
CO Two Lanas - One Way CJ Mulli-Lane Undivided Two Way Left Turn
O Multi-Lanes (J or more) - One Way Cl Multi-Lane Undivided (3 or more) - Two Way
(_] Multi-Lene wi Grass Median Only [_] Mulli-Lane wi Concrete Barrier
HAZMAT Propar Shipping Name: State DOT# Oo Multi-Lane wi Center Turn Lane Oo Multi-Lane wi Metal Guardrail Median
i- i i Private Dri Ail
us DOF eH CliV inspection | Wes oO Multi-Lane wi Curb Raised Median CJ tivate Drive 0 ley
[] Multi-Lane wi Cable Barrier Cc Ramp
Gross Vehicle Weight Rating Cargo Body Type Event Collision With
1. ANOTHER MOTOR VEHICLE
HAZMAT Placard | HAZMAT Release of Cargo | HAZMAT Digit ID? Hazzard Class #

 

 

 

 

 

 

 

 

 

  

 
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Indicate North

E500S

 

 

 

 

 

 

 

 

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OLD US HWY 2315 OLD US HWY 2315

 

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